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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE


  Kari Fitzsimmons,                                 Civil Action No. 17-1579

                          Plaintiff,


           – against–



  Discover Bank, Trans Union, LLC, and
  Equifax Information Services, LLC,

                          Defendant(s).



                                NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that all matters herein have been compromised and settled as

between Plaintiff and Defendant, Trans Union LLC. Plaintiff intends on filing a Stipulation of

Dismissal with Prejudice and Proposed Order once the settlement is consummated.

                                       Respectfully submitted,

                                       s/ Antranig N. Garibian
                                       Antranig Garibian, Esq. (Bar No. 4962)
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                                       Counsel for Plaintiff
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                                 CERTIFICATE OF SERVICE

       I, Antranig Garibian, Esq., hereby certify that a copy of the Notice of Settlement between

Plaintiff and Defendant, Trans Union, LLC, has been filed electronically. Notice of this filing will

be sent to all parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s electronic filing.



                                       Respectfully submitted,

                                       s/ Antranig N. Garibian____
                                       Antranig Garibian, Esq. (Bar No. 4962)
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